Case CaSecl-09-(960P AS-PECuDacLDiG RE C221 20/10age Pagjed of 26

IN THE UNITED STATES COURT OF FEDERAL CLAIMS
BID PROTEST

 

AMAZON WEB SERVICES, INC.,
Plaintiff,
Vv.

UNITED STATES OF AMERICA,

by and through the U.S. Department of Defense,

Defendant,
and

MICROSOFT CORPORATION,

Defendant-Intervenor.

 

 

Case No. 19-cv-01796

Judge Campbell-Smith

FINAL REDACTED VERSION

PLAINTIFF’S BR REPLy IN SUPPORT OF ITS
MOTION TO COMPLETE THE ADMINISTRATIVE RECORD

 
Case CaSecl-09-(960P ES-PECuDacLDie ed F221 20/10/age Pagjee of 26

TABLE OF CONTENTS
Page
TABLE OF AUTHORITIES ..0.....ceeceeeeeessceecceeceeccseceeeceeccsecseccsecceeceeceseceeecsecesecseecseasseceneeseeees iv
INTRODUCTION .00oeeeceeccecscessceceeececseecsesceesceessesseessecesessesesesseesseesseasecsseasseaseesseesseaseesseaseeesees 1
LEGAL STANDARDS ....oecceeeeeeseesceeceeeceesceeceeeceecceeceesececsesceeasensseeceeacsesseaceesceesseeseeaseeeeessseesees 2
A. The AR Must Contain “All Material that Was Developed and Considered by”
DOD oon ee cece ccescesccescesseeseesseesscesscsscessessecsseesscesscsacessessscesecsaeesscessesaeesscesseeasesasessesseeseceaeeeaees 2
B. The Presumption of Regularity in Designating the AR Should Not Apply
Because the Government Conceded It Erroneously Omitted Documents that
Should Have Been Included ............0...cccccccccceccesccesseeeseeeseeeeseceseeceaceeeceeseeeeeceseeeseeeeseeesees 3
C. “Deliberative” Documents Should Be Included in the AR If they Are
Developed and Considered by the Agency in Making Its Decision ...................0.:0::00++ 4
ARGUMENT ...0....eeeeeeceesceecceeceecceecceeceeccscseecsecceeceeecseccseceescseeseecesecseceseceeacseeeeacseecseasseceeacseeeeneeeees 7
A. “Read Ahead” Memoranda, Agendas, Notes, Transcripts, and Other Materials
Relating to Informational Meetings with Secretary Esper and/or the Office of
the Secretary of Defense .............cccccccecccescescceseeseeseeesecseesecesecaeeseceaeeeaceeceaeeeseeeseeeeeaees 7
B. Materials Concerning the Role of Stacy Cummings—the Principal Deputy
Assistant Secretary of Defense, Acquisition Enablers—Relating to the JEDI
Contract... eee cceecccceecceeeceeeeceeeeseeeeesceceeseeeeeseeeseseeceeaeeceaeeeeaeeeeaeeeseeeeeeneeeeeeeeeseteereeeeees 10
C. Materials Relating to the Recusals of Secretary Esper and Ms. Cummings.................. 12
D. Materials Relating to Meetings and a Presentation to DoD Leadership that
Occurred After September 27, 2019 o........eccccecccecccecceseeesceeeeseeeseeseceseeeeceeseseeneeeeeesees 13
E. Notes, Transcripts, and/or Records of DoD’s Meetings with AWS and/or
Microsoft ..........ecccecceeceesceeseeseeeseeseeeseesseessesseesseeseeesecsaeessesseeaeeseeeseeeseesaeeseeeaeeeseenseeaeeneeees 14
F. Materials on Any Platform (e.g., Email, Slack, Google Drive, Google Docs,
Google Groups, Google Hangouts) Related to the JEDI Source Selection or
Proposal Evaluations, as Pertaining to AWS and/or Microsoft ...............0...::cceeeeeeeeeees 16
G. Drafts and Workpapers Relating to the Demonstration Evaluations, Factor
Consensus Evaluations, Price Evaluations, SSEB Report, PEB Report, SSAC
Report, and/or SSDD 200.......cecccecceeceeseeeseesceeseesseeseeseesseesecesecsseeseeeseceeeseeeseeseeeeeeseeeeeeaes 18
H. Unedited Video and Audio of the Factor 8 Demonstrations...................::c:eseeeeeeeeeeees 19

li

 
Case CaSecl-09-(960P ES-PECuDacLDie ed F221 20/10/age Paes of 26

I. Requested Materials the Government Has Agreed to Add to the AR .................0:.0 20

CONCLUSION .00....ceccececcceeeseceessccesscccecseccesssceenssseesssesccssescessssecssseecsaseesesesecsseeecsaseessseeesseeensseeeess 20

 
Case CaSecl-09-(960P S-PECuDacLDe i F221 2D/10/age Pajes of 26

TABLE OF AUTHORITIES
Page(s)

Cases
ARKRAY USA, Inc. v. United States,

No. 14-233, 2014 WL 2905127 (Fed. Cl. June 26, 2014)... eee 4, 6, 7,9, 10, 16
Cubic Applications, Inc. v. United States,

37 Fed. Cl. 339 (1997) 2o...ceccccccccccecccescceesceeseecseeceseeeaecesecesaceesecesseceseeesaeceseceseeseeeesseeeseeeneeeeaes 3,8
Eden Isle Marina, Inc. v. United States,

89 Fed. Cl. 480 (2009) 22... .eececcecceccceeccecceseeeseeseeeseesseeseceaecsaeeseceseesaeeseeeaeceaeseseaeeeseceeteeeeaeeeseeaees 9
Fort Carson Support Servs. v. United States,

71 Fed. Cl. 571 (2006) 2.2... cece cceccecccecccescceseecesceeseeceseeeseeceaecesseceaeeeseeeseceseeceseceeeseseceeseeeaeeeseeeaes 2
Gallup, Inc. v. United States,

131 Fed. Cl. 544 (2017) .o.ecceccccccccccccccccccecceesceesceeseeeseecaeeeseecsecesaeceseeeeeseeeeeaeseaeeeseeeeeeesseeeseeess 1
Gulf Grp. Inc. v. United States,

61 Fed. Cl. 338 (2004) oo...eeececccccceccescceecesceeseesceeseeseeseeesecsaeeseeaecsesseeeseseaeeeeeaeeeeeeseeeaeeneeenees 3,8
Impresa Construzioni Geom. Domenico Garufi v. United States,

238 F.3d 1324 (Fed. Cir. 2001) .0....0cccccccccccccceccccecccesceesceceseeeseeceeeceseeeeeeceseeeeaeecaeesseeeseeeeseeeseees 12
InfoReliance Corp. v. United States,

118 Fed. Cl. 744 (2014) ooo cecceccccccccecccecceceeeeeeceeseeeseeseeeseceaecsaeesecaecsaecseceaeceaeeseseaeenaeeeeeeaeenseenes 6
Inst. for Fisheries Res. v. Burwell,

No. 16-1574, 2017 WL 89003 (N.D. Cal. Jan. 10, 2017) ........cccecceeccceecceeeeeeeeeseeeeeeeseeteees 4,16
Joint Venture of Comint Sys. Corp. v. United States,

100 Fed. Cl. 159 (2011) .o.eeceecceeeeececccceccceecceeseeeseeceeeceseeeeseeeseeenseeeseeeeaes 1, 2, 3, 6, 8, 11, 13, 18
Kansas City Power & Light Co. v. United States,

139 Fed. Cl. 546 (2018) .o...ecceccecccccceecceccesceeseeseeseeeaeesseesecaecsaecaeeeseesaeeseceaeeeaeeseeeaeeeseenseeneeeseeaes 8
Lyon Shipyard, Inc. v. United States,

113 Fed. Cl. 347 (2013) .....ccccecccccccceccceseceesceeceeeeeeeseecaeceseeesseeeseeesseeessetsseesssessteeseeeeeds 9, 16,17
Marriott Int’l Resorts, L.P. v. United States,

437 F.3d 1302 (Fed. Cir. 2006). .........ccceccccccccccesceeceeseeesecseeesecseeseeesecaecseceseeeseesaeeaeeeaeeeeeeeenseeaes 6
Poplar Point RBBR, LLC v. United States,

145 Fed. Cl. 489 (2019) ooo. cceececcccccceccccesceescceseeceseeeseeceseceseeceaecesaeceseeeseeseseseseeesseeeseeeaes 6, 10, 18

iv

 
Case CaSecl-09-(960P ES-PECuDacLDe iE F224 2D/10/age Pajes of 26

Safari Club Int’l v. Jewell,

No. 16-94, 2016 WL 7785452 (D. Ariz. Jul. 7, 2016) 00... ..ccccccccccccccceeeccesseeeeeseeeesseeeesseeeeseeees 17
Alpha I, L.P. ex rel. Sands v. United States.,

83 Fed. Cl. 279 (2008)... ..eeceeeccccccescceseceseeeeseeesaeeeseeeseecsecessccsscesseceseeessecesacesseeeseeesseeeeeesseeaes 5
In re Sealed Case,

121 F.3d 729 (D.C. Cir. 1997) oo. .cccccccccccccccccseccessceeeescecesseceesseceesseceessseessseesssseestsseesseeeeed, 6, 17
Sikorsky Aircraft Corp. v. United States,

106 Fed. Cl. 571 (2012) .....ccccccccccccccecccesecceeseceeeseeceeseecesseecesseesesssesesseesesseesssssessssesseeeesds 6, 8
Smith v. United States,

114 Fed. Cl. 691 (2014) ooo. ccccccccccccccccccecccesceeseeceseeessecaeeeseeseseeessecaeceseeceseeeeeceseeeseeseeeesseeeaeeess 3
Sonoran Tech. & Prof. Servs., LLC v. United States,

132 Fed. Cl. 644 (2017) ....cccccccccccccccccscccesscceesscceessecesseeceseceesssceeseecesseccesseceesseceesseeeeseeeeesseeeesaes 6
Tafas v. Dudas,

530 F. Supp. 2d 786 (E.D. Va. 2008) 22... ..ccccccceecccceeceesceeeceeseceseeesseceseeeseessseesssesssessseesseeeesd 17
Tauri Grp., LLC v. United States,

99 Fed. Cl. 475 (2011) oo.ccccecccccccccccccscccesseceesseeeesseceesseceessecesssceesseceesseceesseeeesseeeeseeees 4,5, 16,19
Univ. Camera Corp. v. NLRB,

340 U.S. 474 (L951). .ceccccccecccccccceseceesseeceseceesseeeesseceesseceesaecesseeceeseecesseecesseecesaeeeesaeeeesaeeeesaeeeees 12
Walsky Constr. Co. v. United States,

20 Cl. Ct. 317 (1990) occ eee cccecceccccecccesceececeseceseeeseeceseecsaecessecsaeesseecaeceseeseseeesessaeeeseeeeseeeeseeeseeees 5
Statutes

18 U.S.C. § 208 20... cece ccecccececcceeeeeceeeeeeeeeeceeeeeeeeaeeceeaceceeaeeceeaeeceeaeeeeeaeeceeaeeceeseeeeeeeeeseeeeeseeeeeeeeeeeees 11

 
Case CaSecl-09-(960P ES-PECuDacLDie ed F221 20/10/age Pages of 26

INTRODUCTION

“The integrity of the administrative record ... is foundational to a fair and equitable
procurement process.” Gallup, Inc. v. United States, 131 Fed. Cl. 544, 548 (2017). The
Government, therefore, has an obligation to produce a complete administrative record (“AR”),
which “is the predicate to meaningful and effective judicial review.” Joint Venture of Comint Sys.
Corp. v. United States, 100 Fed. Cl. 159, 168 (2011). The Government’s production of a cherry-
picked record fails to meet this standard.

The Government has fumbled its handling of the AR from the very beginning of this case.
During the parties’ initial case-management conference on November 26, 2019, the Government
represented it was “comfortable” that it could file the AR by December 13. See ECF No. 25 at
12:9. On the eve of that deadline, the Government requested a three-week extension, claiming that
it needed “[m]Jore time ... to ensure all documents that are properly part of the record are collected
[and] organized.” ECF No. 54 at 2. The Government finally produced a set of materials that it
claimed to comprise the AR on January 3, 2020, with the Contracting Officer certifying that those
materials “include[d] the existing documents developed and considered in the decision to award
the contract to Microsoft Corporation.” Certification of AR (Jan. 3, 2020).

This certification was false. As detailed in Amazon Web Services, Inc. (““AWS”)’s Motion
to Complete (ECF No. 127-1 (Pl. Mot.”’)), upon an expeditious review of the AR, AWS identified
numerous categories of documents that were missing and promptly notified the Government of
those deficiencies on January 9. The Government did not provide a specific response to AWS’s
informal requests until AWS circulated a ready-to-file motion to complete the AR on January 17,
at which point the Government finally conceded that some of the requested materials should be
included in the AR. Since the filing of this Motion, the Government yet again conceded that some

additional requested materials were improperly excluded from the AR, as initially presented. As

1

 
Case CaSecl-09-(960P ES-PECuDacLDe ed F224 2D/10/age Pagjeg of 26

a result of these concessions, the Government amended the record with 1,119 pages of new
materials just last week—materials that should have been part of the AR from the outset.

Yet despite the Government’s delay and acknowledgment of error, it continues to obstruct
the adjudication of this protest upon a complete record because the AR is still missing materials
that DoD generated and considered in reaching its award decision. Most notably, the
Government’s refusal to complete the AR extends to materials that this Court twice expressly
ordered be included—namely, that “the record should include any informal documents reflecting
factors considered in the agency’s decision-making process, such as email communications and
communications made through Slack channels and the like.” ECF No. 15 at 2; ECF No. 55 at 2.
The Government hardly attempts to excuse its noncompliance, claiming that it need not produce
materials that the Court ordered the Government “should” produce. Def.’s Resp. Opp’n Pl.’s Mot.
Complete at 18, ECF No. 143 (“Gov. Op.”) (attempting to distinguish between “directory” and
“mandatory” instructions by the Court). The Government’s disregard for this Court’s orders and
dilatory attitude toward the completeness of the AR are transparent attempts to “undermine[]” the
“court’s review function ... [by] insulat[ing] portions of its decision from scrutiny.” Comint, 100
Fed. Cl. at 168. This should not be tolerated. AWS respectfully asks the Court to order the
Government to complete the AR with the missing documents identified below.

LEGAL STANDARDS
A. The AR Must Contain “All Material that Was Developed and Considered by” DoD

The Government’s refusal to provide a complete AR in this case is troubling and impedes
the Court’s ability to conduct the “substantial inquiry and thorough, probing, in-depth review” that
it must perform. Comint, 100 Fed. Cl. at 166 (internal quotation marks omitted); see also Fort
Carson Support Servs. v. United States, 71 Fed. Cl. 571, 592 (2006) (judicial review “entails

identifying the judgments made by the relevant officials and verifying that the relevant information

2

 
Case CaSecl-09-(960P ES-PECuDacLDe i F221 20/10/age Pajes of 26

was considered, the relevant factors were employed, and a satisfactory explanation was
articulated”). As the Government acknowledges, the AR must include “all the material that was
developed and considered by the agency in making its decision.” Cubic Applications, Inc. v.
United States, 37 Fed. Cl. 339, 342 (1997); see also Gulf Grp. Inc. v. United States, 61 Fed. Cl.
338, 347 (2004) (AR “is supposed to contain all of the materials relied upon by the agency in
making its decision as well as an articulation of this decision’). This includes materials that were
both “directly or indirectly considered by agency decision-makers,” and “an agency may not
exclude information merely on the grounds that it did not rely upon the excluded information when
reaching a final decision when there was evidence that the information was, in fact, reviewed.”
Comint, 100 Fed. Cl. at 168—69 (internal quotation marks omitted). That is because “[t]he court’s
review function is undermined when an agency assembles a record that consists solely of materials
that insulate portions of its decision from scrutiny or that it deems relevant to specific allegations
raised by a protester.” Jd. at 168.

B. The Presumption of Regularity in Designating the AR Should Not Apply Because the

Government Conceded It Erroneously Omitted Documents that Should Have Been
Included

Although the Government claims that it “is entitled to a ‘strong presumption of regularity
in designating its administrative record,’” Gov. Op. at 10, “that presumption of a complete record”
should not apply where the Government has already “acknowledged ... that it had inadvertently
excluded documents from the administrative record,” Smith v. United States, 114 Fed. Cl. 691, 695
(2014) (Campbell-Smith, C.J.). Thus, because the Government has already conceded that the AR,
as originally presented, omitted many documents that should have been included, the presumption
of a properly designated and complete AR does not apply in this case. See generally ECF No. 136
(identifying multiple documents that were “inadvertently omitted” from the AR and moving to

amend the AR to correct these errors).

3

 
Case CaSecl-09-(960P S-RECuDacLDe i F224 2D/10/age Pajes of 26

C. “Deliberative” Documents Should Be Included in the AR If they Are Developed and
Considered by the Agency in Making Its Decision

The Government repeatedly asserts that certain documents like “drafts, other internal
deliberations, and informal notes” are “typically” excluded from the AR because they may reflect
the “deliberative decision-making process of agencies.” Gov. Op. at 8-9. The Government
contends that requiring inclusion of these materials in the AR would harm “proper agency
functioning” by encroaching upon the “mental process[es]” of procurement officials. See id. at 9
(quoting cases). But the Government’s position distorts applicable legal precedent, the facts of
this protest, and this Court’s orders.

Although the AR “need not consist of every single document related in any way to the
procurement in question,” it must, at a minimum, include “materials relevant to the specific
decisions being challenged.” Tauri Grp., LLC v. United States, 99 Fed. Cl. 475, 481 (2011). An
agency cannot skirt this requirement by “distill[ing] its proposal evaluations to a single, summary
report of conclusions” and claim that the summary report “constitute[s] the only information
considered and thus the ‘full’ record of a decision.” Jd.

Because the hallmark of a complete AR is that it contains all materials “developed and
considered” by the agency, there is no categorical exemption for drafts, informal notes, or other
so-called “deliberative” materials, as the Government contends. See, e.g., Inst. for Fisheries Res.
v. Burwell, No. 16-1574, 2017 WL 89003, at *1 (N.D. Cal. Jan. 10, 2017) (“It is obvious that in
many cases internal comments, draft reports, inter- or intra-agency emails, revisions, memoranda,
or meeting notes will inform an agency’s final decision.”’). It is therefore not uncommon to require
that the AR include informal documents that were “generated or considered” by the agency,
particularly where these documents “are relevant to the key issue[s] in th[e] case.” ARKRAY USA,

Inc. v. United States, No. 14-233, 2014 WL 2905127, at *5 (Fed. Cl. June 26, 2014) (adding emails

4

 
Case CaSecl-09-(960P ES-RECU Dane ME d F220 /22/10/aGe Pagé 20 of 26

and handwritten notes); see also, e.g., Lyon Shipyard, Inc. v. United States, 113 Fed. Cl. 347, 353
n.4 (2013) (adding “emails and correspondences between the [agency] contracting officials”);
Tauri Grp., 99 Fed. Cl. at 482 (adding emails). Indeed, that is what the Court ordered here, when
it mandated that the AR “should include any informal documents reflecting factors considered in
the agency’s decision-making process, such as email communications and communications made
through Slack channels and the like.” ECF No. 15 at 2; ECF No. 55 at 2.

To the extent the Government relies on the deliberative process privilege as a basis for
withholding materials that are otherwise properly included in the AR,! the Government bears the
burden of establishing that the strict substantive and procedural requirements for the privilege—
which is construed narrowly—have been met. See, e.g., Alpha I, L.P. ex rel. Sands v. United
States., 83 Fed. Cl. 279, 288 (2008); Walsky Constr. Co. v. United States, 20 Cl. Ct. 317, 320
(1990). A document is “deliberative” and potentially exempt from disclosure under the
deliberative process privilege if “it addresses a direct part of the deliberative process in that it
makes recommendations or expresses opinions on legal or policy matters.” Sikorsky Aircraft Corp.
v. United States, 106 Fed. Cl. 571, 576 (2012) (internal quotation marks omitted).

However, the deliberative process privilege “can be overcome by an adequate showing of
need.” Jn re Sealed Case, 121 F.3d 729, 745 (D.C. Cir. 1997). For example, where the documents
“may shed light on government misconduct, the privilege is routinely denied, on the grounds that

shielding internal government deliberations in this context does not serve the public’s interest in

 

! Although the Government claims that it is “not asserting the ‘deliberative process privilege’
... at this time,” see Gov. Op. at 21, the key case that the Government cites—Tafas v. Dudas,
530 F. Supp. 2d 786 (E.D. Va. 2008)—-suggests that establishing the privilege is necessary to
show that a document should not be included in the AR. See Gov. Op. at 9 (“‘A complete
administrative record ... does not include privileged materials, such as documents that fall
within the deliberative process privilege.’” (quoting Tafas, 530 F. Supp. 2d at 794)).

5

 
Case CaSecl-09-(960P ES-RECu Dans Ed 02/20 /22/10/AGe Pagé 24 of 26

honest, effective government.” Jd. at 738 (internal quotation marks omitted). Similarly, where a
deliberative document is “relevant to plaintiff's claim of bad faith, ... such a document cannot be
sheltered under a claim of deliberative process privilege.” JnfoReliance Corp. v. United States,
118 Fed. Cl. 744, 749 n.10 (2014); see also Comint, 100 Fed. Cl. at 169 (“[The] deliberative
process privilege does not apply where a showing of bad faith has been made.” (internal quotation
marks omitted)).

In addition to the substantive requirements, this Court has outlined procedural requirements
that the Government must follow to invoke the deliberative process privilege. In particular, the
privilege “can only be invoked by an agency head or his or her subordinate after careful, personal
review,” and “that head or designee must identify the specific information that is subject to the
privilege and provide reasons for maintaining the confidentiality of the pertinent record.” Sikorsky
Aircraft, 106 Fed. Cl. at 576 (citing Marriott Int’l Resorts, L.P. v. United States, 437 F.3d 1302,
1306-07 (Fed. Cir. 2006)); see also ARKRAY, 2014 WL 2905127, at *6 n.15 (rejecting assertion
of privilege where “the government has not satisfied any of the procedural requirements for
properly invoking” the privilege).

Finally, whenever the Government asserts that a document is “deliberative” or otherwise
subject to a privilege, the Court should require the Government to produce a log and provide the
documents in question for in camera review so that the Court may determine whether the
documents are necessary to complete the AR. See, e.g., Marriott, 437 F.3d at 1307 (“[{A] trial
court may conduct in-camera review of documents under [the qualified deliberative process
privilege].”); Poplar Point RBBR, LLC v. United States, 145 Fed. Cl. 489, 493 (2019) (requiring
Government to file privilege log and produce “deliberative” documents for in camera review);

Sonoran Tech. & Prof. Servs., LLC v. United States, 132 Fed. Cl. 644, 648-49 (2017) (ordering

6

 
Case CaSecl-09-(960P E5-RECU Dane ME d F220 22/10/aGe PAQE Ae of 26

privilege log and submissions of communications, emails, and documents for in camera review);
ARKRAY, 2014 WL 2905127, at *2, *5 (ordering Government “to provide the court with a copy
of all documents requested in plaintiff's motion ... to allow for in camera review’’).

ARGUMENT
Despite the Government’s concessions that the AR was not complete as initially presented,
and its subsequent amendment of the AR with new materials, the AR is still incomplete and lacks
critically important materials that DoD generated and considered during the JEDI procurement,
and which directly relate to key issues raised in this bid protest. The Court should order the
Government to complete the record with the materials described below.
A. “Read Ahead” Memoranda, Agendas, Notes, Transcripts, and Other Materials

Relating to Informational Meetings with Secretary Esper and/or the Office of the
Secretary of Defense

Despite the Government’s belated addition to the AR of additional read-ahead memoranda
and attachments for the multiple JEDI-related meetings held with Secretary Esper and Deputy
Secretary Norquist, Gov. Op. at 11-12, there remain two categories of documents that the
Government refuses to provide, and which should be added to complete the AR.

First, the Government has singled out two documents that—aunlike similar attachments to
the other read-ahead memoranda (which the Government agreed to include in the AR)—1t refuses
to produce: a paper entitled “JEDI Option Space” that was presented to Secretary of Defense Mark
Esper on July 29, 2019, and a “four-page power point [sic] briefing that analyzed various options
for the JEDI procurement” and that was presented to Deputy Secretary Norquist on October 7,
2019. Jd. at 11-12. The Government asserts both documents should not be included in the AR
because they are “deliberative” in nature, id. at 11, and makes a conclusory claim of “‘attorney-
client privilege and work-product protection,” id. at 12.

The Government has no proper basis to exclude these documents from the AR. The

7

 
Case CaSecl-09-(960P ES-RECU Dane d F220 /22/10/aGe PAQE AB of 26

Government does not actually dispute that these materials were “developed and considered” in the
course of DoD’s procurement process. Cubic Applications, 37 Fed. Cl. at 342.

Nor has the Government explained why the documents are deliberative at all—that is, how
they formed a “direct part of the deliberative process in that [they] make[] recommendations or
express[] opinions on legal or policy matters,” Sikorsky Aircraft, 106 Fed. Cl. at 576—or why their
production would impermissibly encroach upon “the mental thought processes of the
decisionmakers,” Gulf Grp., 61 Fed. Cl. at 347. The fact that these documents were presented to
senior DoD officials like Secretary Esper and Deputy Secretary Norquist undercuts the
Government’s claim that they were “deliberative” in nature, for Secretary Esper and Deputy
Secretary Norquist are not part of the Source Selection Team and had no legitimate reason to
participate in the “deliberative process” regarding the JEDI source selection.? Furthermore, the
Government’s unsupported assertion that these documents are “deliberative” is belied by its own
agreement to produce a// the other attachments to the same read-ahead memoranda that were
associated with the “JEDI Option Space” paper and PowerPoint presentation—strongly suggesting
that the Government has cherry-picked these two documents for exclusion from the AR in order
to “insulate portions of its decision from scrutiny.” Comint, 100 Fed. Cl. at 168.

The Government has also failed to meet its burden to show how the PowerPoint
presentation is “subject to the attorney-client privilege and work-product protection.” Gov. Op.

at 12; see Kansas City Power & Light Co. v. United States, 139 Fed. Cl. 546, 561 (2018) (“The

 

> If, on the other hand, the documents that were presented to Secretary Esper and Deputy
Secretary Norquist were truly deliberative in nature (e.g., if they reflect their “mak[ing]
recommendations or express[ing] opinions on legal or policy matters” regarding the source
selection, see Sikorsky Aircraft, 106 Fed. Cl. at 576), then the documents would be highly
relevant to AWS’s bias and bad faith claims, and accordingly would constitute materials that
should be supplemented into the AR.

8

 
Case CaSecl-09-(960P E5-RECu Dane ME d 02/20 /22/10/4Ge Pagé 2a of 26

party asserting the privilege bears the burden of demonstrating the applicability of the privilege,
and that burden is not discharged by mere conclusory or ipse dixit assertions.” (internal quotation
marks omitted)). For example, the Government has not identified any of the bases necessary to
assert privilege, such as the names of the attorney(s) involved in preparing the communication or
explaining how it reflects legal advice or was prepared at the direction of counsel. See Eden Isle
Marina, Inc. v. United States, 89 Fed. Cl. 480, 498 (2009) (privilege log must “be sufficiently
detailed to allow the court to determine whether the elements of the claimed privilege have been
established” (internal quotation marks omitted)).

Second, the Government has no basis for withholding “informal notes” from these meetings
with senior DoD officials regarding JEDI. Gov. Op. at 12.7 Although the Government suggests
there is a bright-line rule allowing it to withhold “informal notes,” Gov. Op. at 12, that is incorrect.
This Court has required completion of the AR with informal notes if they are “generated or
considered by the agency during the procurement and decisionmaking process.” ARKRAY, 2014
WL 2905127, at *5.

Moreover, the informal notes AWS has requested pertain to meetings between members of
the Source Selection Team and DoD leadership, unlike the interview and evaluator notes in the
cases the Government cites. See Gov. Op. at 12. For example, in Lyon Shipyard, Inc. v. United
States, the court did not require the filing of the notes of individual agency employees because
those notes were “more akin to drafts” of individual evaluations. 113 Fed. Cl. at 353 n.4. By
contrast, here, the notes from meetings between the Source Selection Team and high-level DoD

officials would not be “akin to drafts” of evaluations because the DoD officials had no legitimate

 

3 AWS accepts the Government’s representation that “there are no transcripts of these
meetings.” Gov. Op. at 12.

9

 
Case CaSecl-09-(960P ES-RECu Dane ME d 02/20 /22/10/2Ge PAgE 25 of 26

role in the deliberations or drafting of JEDI proposal evaluations. Instead, these meeting notes are
more akin to the memoranda that summarize the substance of what was discussed in these
meetings, which the Government has already included in the AR, and which are consistent with
the types of notes this Court has ordered necessary to complete records in the past. See ARKRAY,
2014 WL 2905127, at *4 (ordering record completed with handwritten notes from meetings).*
* * * * *

In sum, the Government has not articulated any credible basis to exclude the “JEDI Option
Space” paper, PowerPoint presentation, and informal notes from meetings with DoD leadership
from the AR. The Court should therefore order the Government to include these documents in the
AR; or at a minimum, require the Government to provide a privilege log and in camera submission
to enable the Court to assess whether these documents are necessary for a complete AR. See, e.g.,
Poplar Point, 145 Fed. Cl. at 491 (ordering in camera submission and privilege log to enable court
to adjudicate plaintiff's motion to complete).

B. Materials Concerning the Role of Stacy Cummings—the Principal Deputy Assistant
Secretary of Defense, Acquisition Enablers—Relating to the JEDI Contract

The AR also is incomplete without materials regarding the role of Stacy Cummings in the
JEDI procurement. See Pl. Mot. at 13-14. As the Principal Deputy Assistant Secretary of Defense,
Acquisition Enablers, Ms. Cummings had multiple communications with the Source Selection

Team, including Source Selection Evaluation Board chairperson po and worked

 

4 The Government also cites a summary order from Oracle America, Inc. v. United States, No.
18-1880, ECF No. 76 (Fed. Cl. May 21, 2019), in which the court denied a motion to include
in the AR notes or drafts relating to a contracting officer’s final decision regarding a potential
Procurement Integrity Act violation. As with Lyon, these notes and drafts are akin to drafts
that were used to prepare a final report—and not like the meeting notes that AWS requests
here.

10

 
Case CaSecl-09-(960P ES-RECUDaLns Ed 02/20 /22/10/2Ge Pagé 26 of 26

closely with DoD procurement personnel to prepare for JEDI-related meetings involving Secretary
Esper and other high ranking DoD officials in August and September 2019. See AR Tab 460 at
176420-21. Ms. Cummings subsequently recused herself from the JEDI procurement on
September 27, 2019, after disclosing ee. and the Contracting
Officer concluded that Ms. Cummings had “possibly violated 18 U.S.C. § 208 and its
implementing regulations.” See AR Tab 454; AR Tab 460 at 176418, 176423.

In light of Ms. Cummings’s role in the JEDI procurement—and in particular, her
participation in preparing for meetings between the Source Selection Team and senior DoD
officials like Secretary Esper—AWS requested that the AR be completed with the full set of
materials regarding Ms. Cummings’s involvement in JEDI, including the documents the
Contracting Officer expressly relied upon in her “No Impact” assessment memorandum. See PI.
Mot. at 13—14; see also AR Tab 460 at 176420 (Contracting Officer stating that she “reviewed Ms.
Cummings’s emails [and] briefs,” including “the options decision brief presented to the Deputy
Secretary of Defense on October 7, 2019”).

The Government’s only objection to including these materials is that “AWS is not
challenging the contracting officer’s no impact determination.” Gov. Op. at 13. This objection
fails. In including Ms. Cummings’ recusal letter and the Contracting Officer’s no-impact
assessment memorandum in the AR, the Contracting Officer certified that Ms. Cummings’ recusal
is a relevant issue that was “considered in the decision to award the contract to Microsoft.”
Certification of AR (Jan. 3, 2020); see AR Tabs 454, 460. The Government cannot now pick and
choose to include only those documents that “it deems relevant”—1rather, it must produce the
““whole’ administrative record,” which “consists of a// documents and materials directly or

indirectly considered ... includ[ing] evidence contrary to the agency’s position.’”” Comint, 100

ll

 
Case CaSecl-09-(960P ES -RECU Dane ME d C220 22/10/Ge PAQE AP of 26

Fed. Cl. at 168-69 (citing Univ. Camera Corp. v. NLRB, 340 U.S. 474, 487-88 (1951)) (first two
emphases added). Moreover, AWS’s allegations do directly challenge the improper role that
senior DoD officials (like Secretary Esper) played in the JEDI procurement through their
interactions with the Source Selection Team (see, e.g., Compl. §§ 176, 178), and the AR
demonstrates that Ms. Cummings was closely involved in the preparation for meetings between
the Source Selection Team and Secretary Esper. See AR Tab 460 at 176421 (referencing Ms.
Cummings’s role “concerning the potential options to be presented to Secretary Esper”). Ms.
Cummings’s role in the procurement directly relates to the challenges AWS brings in this bid
protest, and the AR should be completed so that it fully reflects the extent of her involvement.
C. Materials Relating to the Recusals of Secretary Esper and Ms. Cummings

Additionally, the Government should complete the AR with materials relating to the
recusals of Secretary Esper and Ms. Cummings. See Pl. Mot. at 14. The Government’s sole reason
for omitting these from the AR is that their inclusion would enable an “‘inappropriate’ inquiry into
the deliberative processes of agency officials.” Gov. Op. at 14 (quoting Jmpresa Construzioni
Geom. Domenico Garufi v. United States, 238 F.3d 1324, 1339 (Fed. Cir. 2001)). But there is
nothing inappropriate about this request, which does not ask for DoD personnel’s thought
processes. Rather, AWS asks that the Government provide a complete record of the grounds for
DoD’s understanding of and determinations regarding the recusals of Secretary Esper and Ms.
Cummings. See Jmpresa, 238 F.3d at 1339 (permitting inquiry into contracting officer’s “grounds”
for responsibility determination, rather than into the officer’s thought process).

A complete factual record on the bases for these recusals is especially critical in light of
the well-grounded allegations AWS has made about the troubling circumstances surrounding the
recusals of DoD personnel. Particularly for Secretary Esper, the timing of his recusal calls into

question whether it was pretextual. For example, the stated basis for Secretary Esper’s recusal was

12

 
Case CaSecl-09-(960P ES-RECUDaTLne iE d F220 /22/10/8Ge Pagé 2B of 26

his son’s preexisting employment with IBM—even though his son had already been hired at IBM
months earlier and IBM was no longer even in the running for the JEDI award. See ECF No. 124-
2 at APP 111-13. Moreover, the announcement of Secretary Esper’s recusal came after he had
already met with DoD personnel on multiple occasions to discuss JEDI, see AR Tab 462 at 176426,
and on the same day that he defended the propriety of his review of the JEDI Contract to Senators
Reed and Warner, see AR Tab 558. DoD’s official announcement of the recusal also misleadingly
stated that the “JEDI procurement will continue to move to selection,” ECF No. 124-2 at APP 110,
even though the Source Selection Authority had executed the Source Selection Decision Document
five days earlier, see AR Tab 459. Secretary Esper’s one-page conclusory recusal memorandum—
with a superimposed, handwritten date—also does not offer any further explanation for the factual
or legal reasons for recusing himself. See AR Tab 458.

By including the recusal memoranda in the AR, the Contracting Officer has certified that
they were “developed and considered in the decision to award the contract to Microsoft.”
Certification of AR (Jan. 3, 2020). The Government cannot limit the AR to what it “deems
relevant,” for withholding the rest of the documents upon which the recusals were based would
“undermine[]” this Court’s “review function” by “insulat[ing] portions of its decision from
scrutiny.” Comint, 100 Fed. Cl. at 168. The Court should require that the materials relating to the
recusals of Ms. Cummings and Secretary Esper be added to complete the AR.

D. Materials Relating to Meetings and a Presentation to DoD Leadership that Occurred
After September 27, 2019

The Government’s opaque response to AWS’s request for documents relating to post-
September 27, 2019 meetings involving DoD leadership is also concerning. See Gov. Op. at 14—
15. Even though the AR indicates that DoD “continued to have meetings to discuss the options

and PowerPoint to present to Department leadership after September 27, 2019,” the AR only

13

 
Case CaSecl-09-(960P ES-RECU Dane d F220 /22/10/2Ge Pagé 29 of 26

contains materials relating to meetings up through September 26, 2019—and nothing beyond that
date. AR Tab 460 at 176422. It is critically important that the AR be completed to reflect the
materials for these meetings and presentation to DoD leadership, as materials bear directly on DoD
leadership’s role in the consideration and determination of the JEDI source selection.

Putting aside the October 7, 2019 PowerPoint presentation (which is addressed above, see
supra, pp. 7-10), the Government asserts—without explanation—that “AWS has not
demonstrated that any other documentation of post-September 27, 2019 deliberative JEDI
meetings involving lower-level DoD officials should be a part of the administrative record.” Gov.
Op. at 15. The Government fails to acknowledge whether these materials exist—let alone describe
their nature and why they have been excluded from the AR. Indeed, the Government has already
included in the AR materials relating to pre-September 27, 2019 meetings involving DoD
leadership, and offer no reason why the materials for post-September 27, 2019 meetings should be
treated any differently. The Court should require the Government to complete the AR with
materials concerning these post-September 27, 2019 meetings.

E. Notes, Transcripts, and/or Records of DoD’s Meetings with AWS and/or Microsoft

The AR is incomplete without notes and other records relating to DoD’s meetings with
AWS and Microsoft. See Pl. Mot. at 15-16.

By including audio recordings of meetings that DoD held with AWS, Microsoft, IBM, and
Oracle on August 13 and 15, 2018, the Government already certified that DoD’s meetings with
offerors are relevant and were considered or relied upon in thei decision-making. See
Certification of AR (Jan. 3, 2020); see also AR Tabs 120, 121, 122, 123. Yet while the AR reflects
that DoD held multiple meetings with offerors, the AR does not contain any full summaries of the
discussions during the meetings. Rather, the AR only contains DoD’s meeting minutes, which do

not—and do not purport to—teflect the substance of what was actually discussed with the offerors.

14

 
Case CaSecl-09-(960P E5-RECu Dane ME d F220 /22/10/4Ge Pagé 20 of 26

The meeting minutes contain only the barest of summaries that do not memorialize what was
discussed. For example, the meeting minutes that the Government included in the AR summarize
discussions as follows: “the questions began with Factor 2, followed by Factor 6,” AR Tab 343 at
151527; “After introductions concluded, the questions began with Factor 9 (Price),” id. at 151529;
“The conversations included discussion questions regarding Factor 4,” id. at 151537. These
minutes do not shed any light on the substance of the discussions that took place during these
meetings.

It is neither fair nor reasonable for DoD to rely on these perfunctory meeting minutes to
comply with their obligation to provide a “complete” AR that would facilitate meaningful judicial
review. The Court should not be content with these bare notes when common sense and standard
practice would suggest that more detailed records of these meetings likely exist—such as in the
form of audio or video recordings, or notes that were taken during the meetings.° Ensuring that
the AR completely reflects what was discussed during these meetings is especially important in
this case, where the key issues relate to what DoD specifically communicated to AWS and
Microsoft about the JEDI requirements during these meetings. See, e.g., ECF No. 130-1 at 48-49
(explaining how DoD procurement officials gave specific oral instructions to AWS, which were
not also communicated to Microsoft). Thus, the Court should require the “individual attendees’
informal notes” from DoD’s meetings with AWS and Microsoft, and any recordings or other

materials regarding these meetings, to be included in the AR. Gov. Op. at 15.

 

° AWS accepts the Government’s representation that “[t]here are no transcripts of these
meetings.” Gov. Op. at 15. However, the Government also claims it does not even know
whether “individual attendees’ informal notes” exist at all. Jd. The fact that the Government
has not undertaken the effort to identify, collect, and review documents calls into question how
the Government was able to make the assessment that they were not necessary to be included
in the AR.

15

 
Case CaSecl-09-(960P ES-RECu Dane iE d 02/20 22/10/aGe Pagé 24 of 26

F. Materials on Any Platform (e.g., Email, Slack, Google Drive, Google Docs, Google
Groups, Google Hangouts) Related to the JEDI Source Selection or Proposal
Evaluations, as Pertaining to AWS and/or Microsoft

The Government continues to refuse to include JEDI-related materials located on email,
Slack, Google Hangouts, and similar platforms. Despite this Court’s clear instruction that the AR
“should include any informal documents ... such as email communications and communications
made through Slack channels and the like,” ECF No. 15 at 2; ECF No. 55 at 2, the Government
has included zero informal documents in the AR that reflect DoD’s evaluation of the JEDI
proposals. The Government simply asserts that, as a categorical matter, it should not produce these
informal documents because they “contain ... the agency’s deliberations in reaching [its]
decision.” Gov. Op. at 16.

The Court should not credit the Government’s blanket assertion. The sowrce or format of
relevant materials has no bearing on whether they should be included in the AR. Through this
request, AWS is not requiring that the AR probe into the mental processes of procurement
personnel. Instead, this request simply asks the Government to include informal materials on these
platforms that “contain information considered by the [evaluation] [t]eam” or, at minimum, “place
that information in context.” Tauri Grp., 99 Fed. Cl. at 482. These informal materials “should ...
be added to the administrative record to allow for effective review of the [evaluation] [t]eam’s
determinations.” Jd. As other courts have noted, “i]t is obvious that in many cases internal
comments, draft reports, inter- or intra-agency emails, revisions, memoranda, or meeting notes
will inform an agency’s final decision.” Jnst. for Fisheries Res., 2017 WL 89003, at *1. And it is
neither uncommon nor unprecedented for the AR to include similar electronic communications.
See, e.g., ARKRAY, 2014 WL 2905127, at *5 (adding emails); Tauri Grp., 99 Fed. Cl. at 482
(same); Lyon Shipyard, 113 Fed. Cl. at 353 n.4 (adding “emails and correspondences between the

[agency] contracting officials”).

16

 
Case CaSecl-09-(960P ES-RECU Dane ME d F220 22/10/aGe PAE 22 of 26

Such is the case here. DoD’s Defense Digital Service “wanted all items related to the JEDI
Cloud effort to be developed and contained in a collaborative but controlled environment,” such
as Slack and Google Drive. AR Tab 221 at 58699. The procurement officials obeyed, and the AR
indicates that, at a minimum, DoD personnel used a Google Group named and at least
two Slack channels: ee See id.; AR
Tab 47a at 2901, 2930, 2973; AR Tab 242. The Government cannot seriously dispute that these
“controlled environment[s]” dedicated to the procurement do not contain information “indirectly
considered by the agency decision-makers,” even though this information “may not have literally
passed before the[ir] eyes.” See Gov. Op. at 8 (quoting Safari Club Int’l v. Jewell, No. 16-94,
2016 WL 7785452, at *2 (D. Ariz. Jul. 7, 2016)).

Furthermore, the Government’s stated rationale for excluding these materials from the
AR—that their inclusion would “chill frank discussion and reduce the quality of agency decision-
making,” see Gov. Op. at 9 (citing Tafas, 530 F. Supp. 2d at 794))—does not hold water in this
case. “[W]here there is reason to believe the documents sought may shed light on government
misconduct, ... shielding internal government deliberations in this context does not serve the
public’s interest in honest, effective government.” Jn re Sealed Case, 121 F.3d at 738 (citation
and internal quotation marks omitted).

Thus, in light of AWS’s well-grounded allegations of bias and bad faith—which include
bias and bad faith on the part of the DoD procurement officials who communicated using these
platforms—it is critical to the full and fai adjudication of this bid protest that these
communications be included in the AR. In particular, the materials on these platforms could very
well reflect the grounds for procurement officials’ understanding and determinations with respect

to outside pressures and biases exerted on them from President Trump and other senior DoD

17

 
Case CaSecl-09-(960P E5-RECu Dane ME d F220 /22/10/Ge PAQE 2S of 26

officials.

The Government’s audacious refusal to include these materials in the AR—or to even
search these platforms for such materials—also ignores this Court’s clear instructions about the
contents of the AR. The Court has twice directed that “the record should include any informal
documents reflecting factors considered in the agency’s decision-making process, such as email
communications and communications made through Slack channels and the like.” ECF No. 15 at
2; ECF No. 55 at 2. There should be no dispute that this Court’s order means what it means: that
“informal documents” like “email communications and communications made through Slack

” <¢

channels and the like” “should” be included in this AR. Yet the Government claims it is free to
disregard whatever this Court tells it that it “should” do, because “should” is a “directory term[]”
rather than a mandatory one. Gov. Op. at 18. This defiance must not be permitted.

The AR should—and must—be completed with these materials in order to facilitate an
effective review of this procurement. In the alternative—and at a minimum—the Court should
require the Government to submit these informal documents to the Court for in camera review, so
that the Court may properly assess whether these documents should be added in order to complete
the AR, lest the Government “insulate portions of its decision from scrutiny.” Comint, 100 Fed.
Cl. at 168; see also, e.g., Poplar Point, 145 Fed. Cl. at 491 (ordering in camera submission and
privilege log of documents that Government claimed were “deliberative”).

G. Drafts and Workpapers Relating to the Demonstration Evaluations, Factor

Consensus Evaluations, Price Evaluations, SSEB Report, PEB Report, SSAC Report,
and/or SSDD

This bid protest concerns the biased and erroneous technical evaluations of AWS’s and
Microsoft’s proposals. It therefore is crucial that all documents considered by DoD in creating
these errant evaluations are included in the AR for this Court’s review, as the Government itself

concedes that the AR should include “material relevant to the specific decisions being challenged.”

18

 
Case CaSecl-09-(960P ES-RECu Dane ME d 02/20 /22/10/4Ge Pagé 28 of 26

Gov. Op. at 13 (quoting Tauri Grp., 99 Fed. Cl. at 481). Like emails and Slack channels, these
drafts and workpapers “contain information considered by the [evaluation] [t]eam” and “place that
information in context.” Tauri Grp., 99 Fed. Cl. at 482. Additionally, this Court has already
cautioned that an agency may not selectively “distill its proposal evaluations” into “summary
report[s] of conclusions” in order to shield from the AR the rest of the information that the agency
considered. Jd. at 481. Without these drafts and workpapers, the record cannot be considered
complete, and the Government must add them into the AR.°

H. Unedited Video and Audio of the Factor 8 Demonstrations

The AR should not be considered complete until the full, unedited demonstration video
and audio files are included. Although AWS accepts the Government’s representation that the
redactions that were applied to the Factor 8 demonstration video were only used to “to protect
passwords, PIN codes, and other unrelated sensitive or proprietary data,” Gov. Op. at 12, and does
not oppose the removal of this information from the video footage at this time, the Government
has nonetheless spliced the edited videos in ways that have removed substantive information
relating to the demonstration sessions. For example, the video files have been edited such that
only one of two demonstration laptop screens is visible at any given point in time during the
demonstration sessions—even though both laptop screens contain relevant information to
understand the demonstration, and indeed, are shown at various times during the demonstrations.

See generally AR Tabs 291, 295. Similarly, the audio and video files have been edited such that

 

° To the extent the Court believes that these materials are more appropriately added to the AR
through supplementation, AWS has separately moved to supplement the AR with these
materials through discovery. See ECF No. 124-3 at Ex. C. The Court can rely on the reasons
set forth in AWS’s Renewed Motion to Supplement and related filings to require their inclusion
in the AR. See ECF No. 124-1; ECF No. 145.

19

 
Case CaSecl-09-(960P EG5-RECU Dane ME d 02/20 /22/10/4Ge PAgE 25 of 26

there is no record of what happened before, after, and during certain breaks—even though it is
likely that there were discussions regarding the demonstrations (including, for example, the DoD
evaluators’ contemporaneous analyses and impressions based on the demonstrations) that are not
reflected in the existing audio and video files. The Government’s selective editing and splicing of
the recordings is improper and the AR should be amended to reflect the full, unabridged
demonstrations.

I. Requested Materials the Government Has Agreed to Add to the AR

The Government acknowledges that it failed to include in the AR multiple materials that
AWS requested, including evaluation notices, spreadsheets, offeror responses, and related
correspondence; responses to AWS emails containing clarifying questions for the Contracting
Officer; and native files for the Microsoft Factor 8 demonstration logs. After AWS’s repeated
requests and the filing of this Motion, the Government now represents that it has amended the AR
to include all (i.e., “the rest”) of such materials. See Gov. Op. at 11-12, 15, 16, 22. AWS
withdraws these requests for completion without prejudice and expressly reserves its rights to
move for these materials should the Government’s representations prove to be inaccurate.

CONCLUSION

The AR is not complete. Reliance on an incomplete record will not facilitate a full and fair
review, and the Government should be required to comply with its obligation to provide a complete
AR. The Court should grant AWS’s Motion to Complete the AR and order the Government to
amend the AR to include the missing materials. In the alternative—and at a minimum—the Court
should require the Government to provide the requested documents to the Court for in camera
review, which will enable the Court to make an informed determination about whether they are

properly included in the AR.

20

 
Case CaSecl-09-(960P ES-RECUDaLns Ed 02/20 /22/10/2Ge Pagé 26 of 26

Dated: February 10, 2020

Of Counsel:

J. Alex Ward

Daniel E. Chudd

Sandeep N. Nandivada
Caitlin A. Crujido

Alissandra D. Young
MorRrISsON & FOERSTER LLP
2000 Pennsylvania Ave., NW
Washington, DC 20006-1888

Respectfully submitted,

 

Kevin P. Mullen

MoRRISON & FOERSTER LLP
2000 Pennsylvania Ave., NW
Washington, DC 20006-1888
Telephone: 202.887.1500
Facsimile: 202.887.0763

Attorney of Record for Plaintiff
Amazon Web Services, Inc.

Andrew S. Tulumello

Daniel P. Chung

GIBSON, DUNN & CRUTCHER LLP
1050 Connecticut Ave., NW
Washington, D.C. 20036-5306

Theodore J. Boutrous, Jr.
Richard J. Doren

Eric D. Vandevelde

GIBSON, DUNN & CRUTCHER LLP
333 South Grand Ave.

Los Angeles, CA 90071-3197

 
